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12
                             UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA,               No. CR 22-394-DMG
15
                Plaintiff,                   [PROPOSED] PROTECTIVE ORDER
16                                           REGARDING DISCOVERY CONTAINING
                v.                           CONFIDENTIAL INFORMATION
17
     YASIEL PUIG VALDES,
18
                Defendant.
19

20
           The Court has read and considered plaintiff’s Ex Parte
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     Application for a Protective Order Regarding Discovery Containing
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     Confidential Information, filed in this matter on December 15, 2022,
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     which this Court incorporates by reference into this order, and FOR
24
     GOOD CAUSE SHOWN the Court hereby FINDS AND ORDERS as follows:
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           1.    The government’s discovery in this case relates to
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     defendant’s alleged crime, that is, a violation of 18 U.S.C. § 1001.
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           2.    A protective order for the discovery is necessary so that
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     the government can produce to the defense materials containing
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1    personally-identifying information (“PII”) of real persons,

2    proprietary and confidential business and financial information of

3    third-parties, the identity of cooperating individuals, wiretap

4    material, and information involving related and unrelated ongoing

5    criminal, civil, and regulatory investigations.           The Court finds

6    that disclosure of this information without limitation risks the

7    privacy and security of the information’s legitimate owners.

8    Because the government has an ongoing obligation to protect such

9    information, including, third parties’ PII, the government cannot

10   produce to defendant an unredacted set of discovery containing this

11   information without the Court entering the Protective Order.

12   Moreover, such information makes up a significant part of the

13   discovery in this case and such information itself, in many

14   instances, has evidentiary value.           If the government were to attempt

15   to redact all this information in strict compliance with Federal

16   Rule of Criminal Procedure 49.1, the Central District of

17   California’s Local Rules regarding redaction, and the Privacy Policy

18   of the United States Judicial Conference, the defense would receive

19   a set of discovery that would be highly confusing and difficult to

20   understand, and it would be challenging for defense counsel to

21   adequately evaluate the case, provide advice to defendant, or

22   prepare for trial.

23         3.    The purpose of this Protective Order is therefore to

24   (a) allow the government to comply with its discovery obligations

25   while protecting this sensitive information from unauthorized

26   dissemination, and (b) provide the defense with sufficient

27   information to adequately represent defendant.

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1          4.    Accordingly, the discovery that the government will

2    provide to defense counsel in the above-captioned case will be

3    subject to this Protective Order, as follows:

4                a.    As used herein, “PII Materials” includes any

5    information that can be used to identify a person, including a name,

6    address, date of birth, Social Security number, driver’s license

7    number, telephone number, account number, email address, or personal

8    identification number.

9                b.    “Confidential Information” refers to any document or

10   information containing PII Materials; proprietary or confidential

11   business and financial information of third-parties; the identity of

12   cooperating individuals; wiretap material; or information involving

13   nonpublic criminal, civil, and regulatory investigations that the

14   government produces to the defense pursuant to this Protective Order

15   and any copies thereof.

16               c.    “Defense Team” includes (1) defendant’s counsel of

17   record (“defense counsel”); (2) other attorneys at defense counsel’s

18   law firm who may be consulted regarding case strategy in this case;

19   (3) defense investigators who are assisting defense counsel with

20   this case or other consultants retained by the defense team;

21   (4) retained experts or potential experts; and (5) paralegals, legal

22   assistants, and other support staff to defense counsel who are

23   providing assistance on this case.          The Defense Team does not

24   include defendant and his personal Agents or attorneys, defendant’s

25   family members, or any other associates of defendant.

26               d.    The government is authorized to provide defense

27   counsel with Confidential Information marked with the following

28   legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

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1    ORDER.”    Where possible, each document containing Confidential

2    Information shall be marked with this legend.          For digital

3    materials/ESI, the government may put that legend on the digital

4    medium (such as DVD or hard drive) or simply label a digital folder

5    on the digital medium to cover the content of that digital folder.

6    The government may also redact any PII contained in the production

7    of Confidential Information.

8                e.    If defendant objects to a designation that material

9    contains Confidential Information, the parties shall meet and

10   confer.    In addition to potentially de-designating the materials,

11   the government shall consider whether the material can be produced

12   in a redacted form such that it would not need to be considered

13   Confidential.     If the parties cannot reach an agreement regarding

14   defendant’s objection, defendant may apply to the Court to have the

15   designation removed.

16               f.    Defendant and his personal Agents or attorneys and

17   the Defense Team shall use the Confidential Information solely to

18   prepare for any pretrial motions, plea negotiations, trial, and

19   sentencing hearing in this case, as well as any appellate and post-

20   conviction proceedings related to this case.

21               g.    The Defense Team shall not permit anyone other than

22   the Defense Team to have possession of Confidential Information,

23   including defendant and his personal Agents or attorneys, while

24   outside the presence of the Defense Team.

25               h.    At no time, under no circumstance, will any

26   Confidential Information be left in the possession, custody, or

27   control of defendant and/or his personal Agents or attorneys,

28   regardless of defendant’s custody status

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1                i.    Defendant and his personal Agents or attorneys may

2    review Confidential Information only in the presence of a member of

3    the Defense Team, who shall ensure that defendant and his personal

4    Agents or attorneys are never left alone with any Confidential

5    Information.     At the conclusion of any meeting with defendant at

6    which defendant and his personal Agents or attorneys is permitted to

7    view Confidential Information, defendant and his personal Agents or

8    attorneys must return any Confidential Information to the Defense

9    Team, and a member of the Defense Team present shall take all such

10   materials with him or her.       Defendant and his personal Agents or

11   attorneys may not take any Confidential Information out of the room

12   in which defendant and his personal Agents or attorneys are meeting

13   with the Defense Team.

14               j.    Defendant and his personal Agents or attorneys may

15   see and review Confidential Information as permitted by this

16   Protective Order, but defendant and his personal Agents or attorneys

17   may not copy, keep, maintain, or otherwise possess any Confidential

18   Information in this case at any time.         Defendant and his personal

19   Agents or attorneys also may not write down or memorialize any data

20   or information contained in the Confidential Information.

21               k.    The Defense Team may review Confidential Information

22   with a witness or potential witness in this case, including

23   defendant and his personal Agents or attorneys.          A member of the

24   Defense Team must be present if Confidential Information are being

25   shown to a witness or potential witness.         Before being shown any

26   portion of Confidential Information, however, any witness or

27   potential witness must be informed of, and agree in writing to be

28   bound by, the requirements of the Protective Order.           No member of

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1    the Defense Team shall permit a witness or potential witness to

2    retain Confidential Information or any notes generated from

3    Confidential Information.

4                l.    The Defense Team shall maintain Confidential

5    Information safely and securely, and shall exercise reasonable care

6    in ensuring the confidentiality of those materials by (1) not

7    permitting anyone other than members of the Defense Team, defendant

8    and his personal Agents or attorneys, witnesses, and potential

9    witnesses, as restricted above, to see Confidential Information;

10   (2) not divulging to anyone other than members of the Defense Team,

11   defendant and his personal Agents or attorneys, witnesses, and

12   potential witnesses, the contents of Confidential Information; and

13   (3) not permitting Confidential Information to be outside the

14   Defense Team’s offices, homes, vehicles, or personal presence.

15               m.    To the extent that defendant and his personal Agents

16   or attorneys, the Defense Team, witnesses, or potential witnesses

17   create notes that contain, in whole or in part, Confidential

18   Information, or to the extent that copies are made for authorized

19   use by members of the Defense Team, such notes, copies, or

20   reproductions become Confidential Information subject to the

21   Protective Order and must be handled in accordance with the terms of

22   the Protective Order.

23               n.    The Defense Team shall use Confidential Information

24   only for the litigation of this matter and for no other purpose.

25   Litigation of this matter includes any appeal filed by defendant and

26   any motion filed by defendant pursuant to 28 U.S.C. § 2255.            In the

27   event that a party needs to file Confidential Information with the

28   Court or divulge the contents of Confidential Information in court

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1    filings, the filing should be made under seal, in accordance with

2    the Court’s individual practices for sealed filings in criminal

3    cases.   If the Court rejects the request to file such information

4    under seal, the party seeking to file such information publicly

5    shall provide advance written notice to the other party to afford

6    such party an opportunity to object or otherwise respond to such

7    intention.       If the other party does not object to the proposed

8    filing, the party seeking to file such information shall redact any

9    Confidential Information and make all reasonable attempts to limit

10   the divulging of Confidential Information.

11               o.     Any Confidential Information inadvertently produced

12   in the course of discovery prior to entry of the Protective Order

13   shall be subject to the terms of the Protective Order.           If

14   Confidential Information was inadvertently produced prior to entry

15   of the Protective Order without being marked “CONFIDENTIAL

16   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

17   shall reproduce the material with the correct designation and notify

18   defense counsel of the error.       The Defense Team shall take immediate

19   steps to destroy the unmarked material, including any copies.

20               p.     Confidential Information shall not be used by the

21   defendant and his personal Agents or attorneys, or the Defense Team,

22   in any way, in any other matter, absent an order by this Court.             All

23   materials designated subject to the Protective Order maintained in

24   the Defense Team’s files shall remain subject to the Protective

25   Order unless and until such order is modified by this Court.             Within

26   30 days of the conclusion of appellate and post-conviction

27   proceedings, defense counsel shall return all Confidential

28   Information, certify that such materials have been destroyed, or

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1    certify that such materials are being kept pursuant to the

2    California Business and Professions Code and the California Rules of

3    Professional Conduct.

4                q.    In the event that there is a substitution of counsel

5    prior to when such documents must be returned, new defense counsel

6    must be informed of, and agree in writing to be bound by, the

7    requirements of the Protective Order before the undersigned defense

8    counsel transfers any Confidential Information to the new defense

9    counsel.    New defense counsel’s written agreement to be bound by the

10   terms of the Protective Order must be returned to the Assistant U.S.

11   Attorney assigned to the case.       New defense counsel then will become

12   the Defense Team’s custodian of materials designated subject to the

13   Protective Order and shall then become responsible, upon the

14   conclusion of appellate and post-conviction proceedings,

15   for returning to the government, certifying the destruction of, or

16   retaining pursuant to the California Business and Professions Code

17   and the California Rules of Professional Conduct all Confidential

18   Information.

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2                r.    Defense counsel shall advise defendant and his

3    personal Agents or attorneys, and all members of the Defense Team of

4    their obligations under the Protective Order and ensure their

5    agreement to follow the Protective Order, prior to providing

6    defendant and his personal Agents or attorneys, and members of the

7    Defense Team with access to any materials subject to the Protective

8    Order.

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10           IT IS SO ORDERED.

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12    DATE                                       HONORABLE DOLLY M. GEE
                                                 UNITED STATES DISTRICT JUDGE
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14   Presented by:
15
       /s/
16    JEFF MITCHELL
      DAN G. BOYLE
17    Assistant United States
      Attorneys
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